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                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
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                                                             Charge No. 570-2014-00259

Veronica Kariuki                                             Charging Party
1027 C Margate Ct.
Sterling, VA 20164

eXeam, Inc.                                                  Respondent
1001 Durham Avenue, Suite 201
South Plainfield,NJ 07080


                                      DETERlMgNATION

On behalf of the Commission, I issue the following determination on the merits of the subject
charge filed under Title VII of the Civil Rights Act of 1964, as amended ("Title VII"). All
requirements for coverage have been met. Respondent is an employer within the meaning of
Title Vn. Timeliness, deferral, and all otherrequirements for coverage have been met.

Charging Party alleges that on July31,2013, shereceived an emailj&om Mr. Kumar Nagdev, a
Recruiter for Respondent, advertisinga Field Technicianposition. On August 5,2013, she
applied for the position. Within minutes, she receivedan email from Mr. Nagdev statingthat the
positionwas only available to male candidates because it was a "fieldjob."

Respondent denies that any such e-mail was sent andquestions the authenticity ofthe e-mail
copyproduced by the Charging Party. It responds that the Charging Partywas not selected for
submission to the clientbecause she was overqualified and looking for a position withthe
possibility of advancement, whereas the advertised position wasfor a limited 6-12 month period.

The record reveals that, although Respondentwas unable to locate the e-mail on its server and
questions the authenticity ofthe email. Respondent admitted thatrecruiters routinely delete
applicant data, including email communications withapplicants, on a daily basis. In addition,
cr^ble evidence demonstrates that the e-mail is authentic. Only e-mails that are actively
archived by recruiters are backed up. Evenwhen backed up, the retention period is onlyseven
days. A search for the e-mail, therefore, would notnecessarily produce the e-mail in question.

Based on the foregoing, I find that there is reasonable cause to believe that eTeam did not select
Charging Party for submission to its clientbecause of her sex (female), in violation of TitleVII.
Likeandrelated to, andreasonably arising firom theinvestigation contained in the charge, the
evidence also showsthat Respondent violated TitleVII's record-keeping requirements. See
709(c) of TitleVII and29 C.F.R. Part 1602. Respondent was xmable to produce applicant data
for Ihose individuals whohad applied for a Field Technician position within the requested time

                                                                                                      EXHIBIT


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frame. Indeed, Respondent admitted tiiat itonly maintains data on applicants whose resumes are
forwarded to a client for possible hire, and deletes applicant data on the remaining applicants.
Upon findmg that a violation has occurred, the Commission attempts to eltminatft the alleged
unlawfol practices by mformal methods ofconciliation. Therefore, the Commission now invites
the parties to join with it in reaching a just resolution of the matter. The confidentiality
provisions of Sections 706 and 709 of Title VII and Commission Regulations apply to
information obtained during conciliation.

If Respondent declines to discuss settlement or when, for any other reason, a settlement
acceptable to the Office Director is not obtained, the Dhector will inform the parties and advise
them of the court enforcement alternatives available to aggrieved persons and the Commission.
ACommission rq)resentative will contact each party inthe near future to begin conciliation.
You are reminded that Federal law prohibits retaliation against persons who have exercised their
right to inquire or complain about matters they believe may violate the law. Discrimination
against persons who have cooperated in Commission investigations is also prohibited. These
protections apply regardless ofthe Commission's determination on the merits ofthe charge.

                                            On Behalf of the Commission:



 10-
Date
 Ste                 IT"                    Mindy E.
                                            Acting Director


Cc:    TinaM. Msiolo
       CairMaloneyP.e.
       2000 L Street, NW, Suite 450
       Washington, D.C. 20036
